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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

RAHUL MANCHANDA,                                 CIVIL ACTION NO. 1:19-cv-05121 (WHP)

                      Plaintiff,                                  Civil Action

        v.                                       DECLARATION OF KERRY KLISCH IN
                                                     SUPPORT OF MOTION OF
EDUCATIONAL CREDIT MANAGEMENT                         EDUCATIONAL CREDIT
CORPORATION,                                      MANAGEMENT CORPORATION FOR
                                                 SUMMARY JUDGMENT PURSUANT TO
                      Defendant.                        FED. R. CIV. P. 56




       KERRY KLISCH, of full age, pursuant to 28 U.S.C. § 1746, hereby declares under

penalty of perjury as follows:

                                       BACKGROUND

       1.      I am a Litigation Specialist employed by ECMC Shared Services Company

(“ECMCSSC”). ECMCSSC provides legal services to Educational Credit Management

Corporation (“ECMC”). I am familiar with the facts and circumstances set forth herein and am

authorized to make this Declaration in support of ECMC’s motion for summary judgment

pursuant to Fed. R. Civ. P. 56 (the “Motion”).

       2.      ECMC was created under the direction of the United States Department of

Education to provide specialized guarantor services pursuant to the Federal Family Education
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Loan Program (“FFELP”), including accepting transfer of title, as well as all FFELP guarantor

responsibilities, of certain student loan accounts on which the student loan borrower has filed a

bankruptcy proceeding. As a guaranty agency, ECMC is in a fiduciary relationship with the

Department of Education for the purpose of the FFELP. ECMC only collects debts for its own

account – that is, debts in which it has a proprietary interest – and does not collects the debts of

other entities. ECMC is a not-for-profit corporation duly organized under the laws of the State

of Minnesota, with offices located at 111 South Washington Avenue, Suite 1400, Minneapolis,

Minnesota 55401.

       3.      On or about May 1, 2003, Plaintiff signed a Federal Consolidation Loan

Application and Promissory Note requesting a consolidation of his existing student loans under

FFELP (the “Note”). A true copy of the Note is attached hereto as Exhibit A. The lender was

College Loan Corporation.

       4.      The consolidation loan made pursuant to the Note (the “Loan”) was disbursed on

or about August 26, 2003, in the original principal amount of $118,806. The loan was originally

guaranteed by American Student Assistance (“ASA”).

       5.      By agreement, ASA assigns to ECMC its student loan accounts for borrowers that

have filed a bankruptcy proceeding. On April 30, 2014, Plaintiff filed bankruptcy, case number

14-11259. Thus, on or around July 10, 2014 ASA transferred all right, title, and interest in the

Note to ECMC and ECMC became the FFELP guarantor. A true copy of the Assignment letter

from ASA to ECMC and the ECMC transfer manifest, redacted to reflect Plaintiff’s loan only, is

attached hereto as Exhibit B.




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       6.      When Plaintiff’s bankruptcy was dismissed on or around January 7, 2015, the

Loan was repurchased by the lender pursuant to federal regulations. ECMC remained the

FFELP guarantor.

       7.      When Plaintiff failed to maintain repayment of the Loan it became severely

delinquent and attained a default status. The lender submitted a default claim to ECMC in

accordance with 34 C.F.R. § 682.102(g). ECMC paid the default claim and all right, title, and

interest in the Note again transferred to ECMC.

       8.      On or about April 14, 2017, Plaintiff executed an agreement with ECMC,

whereby he agreed to rehabilitate the Loan pursuant to 34 C.F.R. § 682.405. The successful

completion of that process would remove the default status and the Loan would go back to a

repayment status with a lender. A true copy of that agreement is attached as Exhibit C.

       9.      Plaintiff successfully completed the rehabilitation of the Loan. As a result, on or

about January 29, 2018, an eligible lender Navient Credit Finance Corporation (“Navient”)

purchased the Loan.

       10.     All activity by ECMC with regards to Plaintiff and his account was performed in

its capacity as a FFELP guarantor and pursuant to its duties thereunder.

       11.     Plaintiff consolidated the FFELP Loan into the Direct Loan Program on or around

March 22, 2018 and created a new consolidation loan under the Direct Loan Program. Thus,

Plaintiff does not currently have any loans under the FFELP and ECMC no longer has any role

with regards to Plaintiff’s student loans.




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       I hereby declare that the foregoing statements made by me are true. I am aware that if any

of the foregoing statements made by me are willfully false, I am subject to punishment.



                                                    /s/ Kerry Klisch_________
                                                    KERRY KLISCH

DATED: May 25, 2021




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                 EXHIBIT B
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